      Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 1 of 28




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


JUSTIN WAYNE HOOD,


                                Plaintiff,
vs.
                                                  CASE NO.:

EQUIFAX INFORMATION                               JURY TRIAL
SERVICES LLC, EXPERIAN                            DEMANDED
INFORMATION SOLUTIONS, INC.,
and TRANS UNION, LLC,


                             Defendants.


                                   COMPLAINT

      Justin Wayne Hood (“Plaintiff”) brings this Complaint against Equifax

Information Services LLC (“Equifax”), Experian Information Solutions, Inc.

(“Experian”), and Trans Union, LLC (“Trans Union”) (collectively “Defendants”)

for actual, statutory, and punitive damages, costs, and attorney’s fees, for violations

of the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq., arising out of

the credit bureau defendants’ mixing of Plaintiff’s credit files with another




                                             1
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 2 of 28




consumer’s credit file, despite the fact that the other consumer has an entirely

different name and Social Security number than Plaintiff.

                            PRELIMINARY STATEMENT

      1.     The computerization of our society has resulted in a revolutionary

increase in the accumulation and processing of data concerning individual citizens.

Data technology, whether it be used by businesses, banks, the Internal Revenue

Service or other institutions, allows information concerning individuals to flow

immediately to requesting parties. Such timely information is intended to lead to

faster and better decision-making by its recipients, and all of society should benefit

from the resulting convenience and efficiency.

      2.     Unfortunately, however, this information has also become readily

available for and subject to mishandling and misuse. Individuals can sustain

substantial damage, both emotionally and economically, whenever inaccurate

information or fraudulent information is disseminated about them.

      3.     The ongoing technological advances in the area of data processing have

resulted in a boon for the companies that accumulate and sell data concerning

individuals’ credit histories and other personal information. Such companies are

commonly known as consumer reporting agencies (“CRAs”).




                                          2
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 3 of 28




        4.    These CRAs sell to readily paying subscribers (i.e., retailers, landlords,

lenders, automobile dealers, potential employers, and other similar interested

parties) information commonly called “consumer reports,” concerning individuals

who may be applying for retail credit, to lease an apartment, to obtain a mortgage,

auto loan, employment, or the like.

        5.    “Credit is the lifeblood of the modern American economy, and for the

American consumer access to credit has become inextricably tied to consumer credit

scores as reported by credit reporting agencies.” Burke v. Experian Info. Sols., Inc.,

2011 WL 1085874, at *1 (E.D. Va. Mar. 18, 2011).

        6.    Congress made the following findings when it enacted the FCRA in

1970:

        1) The banking system is dependent upon fair and accurate credit reporting.
           Inaccurate credit reports directly impair the efficiency of the banking
           system, and unfair credit reporting methods undermine the public
           confidence which is essential to the continued functioning of the banking
           system.

        2) An elaborate mechanism has been developed for investigating and
           evaluating the credit worthiness, credit standing, credit capacity, character,
           and general reputation of consumers.

        3) Consumer reporting agencies have assumed a vital role in assembling and
           evaluation consumer credit and other information on consumers.

        4) There is a need to ensure that consumer reporting agencies exercise their
           grave responsibilities with fairness, impartiality, and a respect for the
           consumer’s right to privacy.
                                            3
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 4 of 28




15 U.S.C. § 1681(a)(1-4). Thus, one of the fundamental purposes of the FCRA is “to

require that consumer reporting agencies adopt reasonable procedures for meeting

the needs of commerce for consumer credit, personnel, insurance, and other

information in a manner which is fair and equitable to the consumer, with regard to

the confidentiality, accuracy, relevancy, and proper utilization of such information

in accordance with the requirements of this subchapter.” 15 U.S.C. § 1681(b).

Accordingly, “[t]he FCRA evinces Congress’ intent that consumer reporting

agencies, having the opportunity to reap profits through the collection and

dissemination of credit information, bear ‘grave responsibilities’”. Cushman v.

Trans Union, 115 F.3d 220, 225 (3d Cir. 1997).

      7.    Since 1970, when Congress enacted the Fair Credit Reporting Act, as

amended, 15 U.S.C. § 1681 et seq. (“FCRA”), federal law has required CRAs to

have in place and to utilize reasonable procedures “to assure the maximum possible

accuracy” of the personal and financial information that they compile and sell about

individual consumers.

      8.    “Mixed files” create a false description and representation of a

consumer’s credit history.

      9.    A “mixed file” occurs when personal and credit information belonging

to Consumer B appears in one or more of Consumer A’s credit files.
                                         4
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 5 of 28




      10.    The Federal Trade Commission defined a mixed credit file as a file that

“refers to a Consumer Report in which some or all of the information pertains to

Persons other than the Person who is the subject of that Consumer Report.” F.T.C.

v. TRW, Inc., 784 F. Supp. 361, 362 (N.D. Tex. 1991).

      11.    Mixed files are not a new phenomenon. Equifax, Experian, and Trans

Union have been on notice of the existence of mixed files, and the fact that their

procedures for creating credit files, including their matching algorithms, are prone

to frequently cause mixed files, for over thirty (30) years. See Thompson v. San

Antonia Retail Merchants Ass’n, 682 F.2d 509, 511 (5th Cir. 1982).

      12.    More recently, Equifax, Experian, and Trans Union have been the

subject of numerous state attorney general actions relating to its mixed file problem.

      13.    For example, in 2015, the New York Attorney General filed charges

and settled claims with Equifax, Experian, and Trans Union over mixed files. 1 See

In the Matter of Eric T. Schneiderman, Attorney General of the State of New York v.

Experian Information Solutions, Inc.; Equifax Information Services, LLC; and Trans

Union LLC.



1
 https://ag.ny.gov/press-release/2015/ag-schneiderman-announces-groundbreaking-consumer-
protection-settlement-three Last visited January 24, 2021; see also
https://ag.ny.gov/pdfs/CRA%20Agreement%20Fully%20Executed%203.8.15.pdf Last visited
January 24, 2021.
                                            5
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 6 of 28




      14.    Notwithstanding Equifax, Experian, and Trans Union’s notice and

being subject to repeated enforcement actions, mixed files continue to occur dispute

consumers’ unique personal identifying information, such as Social Security

numbers, date of birth, and addresses.

      15.    Further, mixed files result in the disclosure of a consumers’ most

personal identifying and financial information absent the consumer’s knowledge or

consent, or both.

      16.    Equifax, Experian, and Trans Union have each been sued thousands of

times wherein an allegation was made that Equifax, Experian, and Trans Union

violated the FCRA. Moreover, Equifax, Experian, and Trans Union are sued, at a

minimum, hundreds of times each year wherein an allegation is made that they

mixed a consumers’ credit file with that of another person.

      17.    Private FCRA lawsuits have resulted in multi-million-dollar verdicts

for consumers who fall victim to a mixed credit file.

      18.    For example, in 2002, the jury in Judy Thomas v. Trans Union LLC,

District of Oregon, Case No. 00-1150-JE, found Trans Union had willfully violated

the FCRA by mixing Judy Thomas’s personal and credit information with another

consumer’s and failing to unmix them dispute Ms. Thomas’ numerous disputes. The

jury awarded Ms. Thomas $300,000 in actual damages and $5 million in punitive

                                         6
         Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 7 of 28




damages. Despite the verdict, Equifax, Experian, and Trans Union continue to mix

consumers’ credit files with other consumers’ credit files.

         19.   In 2007, the jury in Angela Williams v. Equifax Information Services,

LLC, Circuit Court for Orange County Florida, Case No. 48-2003-CA-9035-0,

awarded Angela Williams $219,000 in actual damages and $2.7 million in punitive

damages for willfully violating the FCRA by mixing Angela Williams with another

consumer and failing to unmix them despite Ms. Williams’ disputes. Despite the

verdict, Equifax, Experian, and Trans Union continue to mix consumers’ credit files

with other consumers’ credit files.

         20.   In 2013, the jury in Julie Miller v. Equifax Information Services, LLC,

District of Oregon, Case No. 3:11-cv-01231-BR, awarded Julie Miller $180,000 in

actual damages and $18.4 million in punitive damages for willfully violating the

FCRA by mixing Julie Miller with another consumer and failing to unmix them

despite Ms. Millers’ numerous disputes. Despite the verdict, Equifax, Experian, and

Trans Union continue to mix consumers’ credit files with other consumers’ credit

files.

         21.   Most recently, a jury assessed a $60 million verdict against Trans Union

for mixing innocent American citizens with terrorists and drug dealers by matching

consumers with the Office of Foreign Asset Control’s “terrorist alert” list based on

                                           7
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 8 of 28




first and last name alone. See Ramirez v. Trans Union, LLC, No. 12-CV-00632-JSC,

2017 WL 5153280, at *1 (N.D. Cal. Nov. 7, 2017), aff'd in part, vacated in part,

rev'd in part sub nom. Ramirez v. TransUnion LLC, 951 F.3d 1008 (9th Cir. 2020).

Despite the verdict, Equifax, Experian, and Trans Union continue to mix consumers’

credit files with other consumers’ credit files.

      22.    “Evidence that a defendant has repeatedly engaged in prohibited

conduct while knowing or suspecting that it was unlawful would provide relevant

support for an argument that strong medicine is required to cure the defendant’s

disrespect for the law.” Dalton v. CAI, 257 F.3d 409, 418 (4th Cir. 2001) (noting that

whether “other consumers have lodged complaints similar to Dalton’s against CAI”

is relevant to willfulness under the FCRA). Moreover, repeated noncompliance with

statutory duties can establish that the defendants acted willfully. See Safeco Ins. Co.

of Am. v. Burr, 551 U.S. 47, 53 (2007) (punitive damages can be awarded based on

“reckless disregard for a statutory duty”).

      23.    No less than three federal Courts of Appeal have held a consumer

reporting agency violates 15 U.S.C. § 1681e(b) and may be found to have willfully

violated the FCRA when it mixes a consumer’s file with another consumer.




                                           8
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 9 of 28




      24.    Finally, the Federal Trade Commission has specifically warned

consumer reporting agencies, including Equifax, Experian, and Trans Union, to

review their procedures when a mixed file case occurs.

      25.    Despite federal and state law, Congressional mandate, federal and state

enforcement actions, and thousands of consumer lawsuits, mixed credit files remain

a significant problem for innocent consumers, including Plaintiff.

                                      THE PARTIES

      26.    Plaintiff Justin Wayne Hood (“Plaintiff”) is a natural person who

resides in the State of Michigan, and is a “consumer” as that term is defined in 15

U.S.C. § 1681a(c).

      27.    Defendant Equifax Information Services, LLC (“Equifax”) is a limited

liability company and resides in the State of Georgia, including in this District.

      28.    Equifax is a “consumer reporting agency” as defined in 15 U.S.C. §

1681a(f). Equifax is regularly engaged in the business of assembling, evaluating,

and disseminating information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties.

      29.    Defendant Experian Information Solutions, Inc. (“Experian”) is a

limited liability company that is authorized to do business in the State of Georgia,

including in this District.

                                          9
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 10 of 28




       30.   Experian is a “consumer reporting agency” as defined in 15 U.S.C. §

1681a(f). Experian is regularly engaged in the business of assembling, evaluating,

and disseminating information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties.

       31.   Defendant Trans Union, LLC (“Trans Union”) is a limited liability

company that is authorized to do business in the State of Georgia, including in this

District.

       32.   Trans Union is a “consumer reporting agency” as defined in 15 U.S.C.

§ 1681a(f). Trans Union is regularly engaged in the business of assembling,

evaluating, and disseminating information concerning consumers for the purpose of

furnishing consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties.

                             JURISDICTION AND VENUE

       33.   This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.

§ 1331 and 15 U.S.C. § 1681p, which allows claims under the FCRA to be brought

in any appropriate court of competent jurisdiction.

       34.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims

occurred in this District.




                                         10
    Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 11 of 28




      35.    Plaintiff mailed multiple written disputes regarding inaccurate

information in Plaintiff’s Equifax credit report to Equifax located in Fulton County;

Atlanta, Georgia.

      36.    Defendant Equifax received Plaintiff’s multiple written disputes in

Fulton County; Atlanta, Georgia.

      37.    Upon receipt of Plaintiff’s disputes, Defendant Equifax forwarded such

disputes to furnishers via Automated Consumer Dispute Verification electronic

forms. Upon completion of its investigations pursuant to 15 U.S.C. § 1681s-2(b), the

furnishers responded to Defendant Equifax’s electronic communications, which

originated from Atlanta, Georgia, by sending its results electronically to Defendant

Equifax in Fulton County; Atlanta, Georgia

      38.    Defendant Equifax then processed the dispute results at its National

Consumer Assistance Center in Atlanta, Georgia, and mailed Plaintiff its final

dispute results from Atlanta, Georgia.

                                      FACTS

                    Summary of the Fair Credit Reporting Act

      39.    The FCRA governs the conduct of consumer reporting agencies in an

effort to preserve the integrity of the consumer banking system and to protect the




                                         11
    Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 12 of 28




rights of consumers to fairness and accuracy in the reporting of their credit

information.

      40.      The purpose of the FCRA is to require consumer reporting agencies to

“adopt reasonable procedures for meeting the needs of commerce for consumer

credit, personal, insurance, and other information in a manner which is fair and

equitable to the consumer, with regard to the confidentiality, accuracy, relevancy,

and proper utilization of such information….” 15 U.S.C. § 1681(b).

      41.      The FCRA further requires that when preparing consumer reports a

consumer reporting agency must follow “reasonable procedures to assure maximum

possible accuracy of the information concerning the individual about whom the

report relates.” 15 U.S.C. § 1681e(b).

                  The Credit Bureau’s Processing of Credit Information

      42.      Defendants Equifax, Experian, and Trans Union regularly receive

information from various sources around the country including banks, credit unions,

automobile dealers, student loan providers, public information vendors, and others.

      43.      These sources are known as “furnishers” within the credit reporting

industry and under the FCRA.

      44.      Defendants collect information from thousands of furnishers.




                                          12
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 13 of 28




      45.     The process by which Defendants receive, sort, and store information

is largely electronic.

      46.     Furnishers report credit information to Defendants through the use of

coded tapes that are transmitted on a monthly basis through software known as

Metro 2.

      47.     Defendants take the credit information reported by furnishers and

create consumer credit files.

      48.     Defendants maintain credit files on more than 200 million consumers.

      49.     Credit files are updated electronically by the furnishers to reflect new

information regarding the reported accounts (sometimes referred to within the

industry as “tradelines”).

            Equifax, Experian, and Trans Union’s Mixed File Problem

      50.     Defendants know that different consumers can have similar names.

      51.     Defendants know that different consumers can have similar Social

Security numbers.

      52.     Defendants know that different consumers with similar names can also

have similar Social Security numbers.

      53.     Defendants know that public records often do not contain identifying

information such as Social Security numbers or dates of birth.

                                          13
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 14 of 28




      54.    Defendants match tradelines and public records to a consumer credit

file by comparing the information about the consumer associated with the tradeline

or public record to the information they maintain about the consumer in the

consumer’s credit file or files.

      55.    Defendants accomplish this matching of credit information to consumer

credit files through the use of certain matching algorithms or database rules.

      56.    Sometimes Defendants’ matching algorithms match information

belonging to one consumer to the credit file of another consumer; resulting in what

is commonly known in the industry as a mixed or merged credit file.

      57.    Mixed files are not a new phenomenon. In fact, as long ago as the early

1990s, the Federal Trade Commission (“FTC”) (the government agency charged

with enforcement of the FCRA), entered into individual Consent Decrees with each

of the three major CRAs, Equifax, Experian, and Trans Union, regarding their

significant failures and deficiencies with respect to mixed files.

      58.    Despite Defendants’ long-standing and specific knowledge of the

mixed file problem, Plaintiff’s credit report was still generated by Defendants

containing information belonging to another consumer.




                                          14
        Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 15 of 28




         59.   A mixed or merged credit file is the result of Defendants inaccurately

mixing personal identifying information and credit information and/or an entire

credit file belonging to one consumer into the credit file of another consumer.

         60.   There are many different possible causes for the mixing of credit files

but all of them relate in one way or another to the algorithms (the database rules)

used by Defendants to match personal identifying information and credit

information, including public record information, to a particular consumer’s credit

file.

         61.   The success or failure of these algorithms and rules is both a function

of the rules themselves and of the information provided by the furnishers of the

tradeline information to Defendants.

         62.   A mixed consumer report could be caused by an improper algorithm

just as it could be caused by the inaccurate reporting of a consumer’s personal

“indicative” information (e.g., name, Social Security number, address, date of birth,

etc.) by the furnishers to Defendants.

         63.   These rules also determine which credit files are selected by the

algorithm and merged to create a complete consumer report.




                                          15
    Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 16 of 28




      64.   Therefore, a mixed consumer report is sometimes the result of the

mixing of two or more consumer credit files belonging to different consumers into

one consumer report.


  Plaintiff Sees Inaccurate Information on Experian Credit File on or about
                                 April 11, 2023

      65.   On or about April 11, 2023, Plaintiff’s Experian credit report contained

the following account, which belongs to another consumer:

            Account Name Automotive Credit Corp
            Account Number 5xxxxx

      66.   As of April 11, 2023, Plaintiff’s Experian credit report contained two

Social Security numbers, which belong to another consumer.

      67.   As of April 11, 2023, Plaintiff’s Experian credit report contained an

employer, which belongs to another consumer.

      68.   Experian mixed another consumer’s personal and account information

into Plaintiff’s credit report despite the fact that numerous discrepancies exist

between their personal identification information. The discrepancies that should

have caused Experian to realize Plaintiff is not the same person as this other

consumer include the following:




                                        16
    Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 17 of 28




            a) Plaintiff’s legal name is Justin Wayne Hood and the personal and

               account information Defendants mixed into Plaintiff’s credit reports

               belongs to another consumer; and

            b) Plaintiff’s Social Security number is different than the other

               consumer’s Social Security number.


            Plaintiff’s Equifax Credit File on or about April 11, 2023

      69.    Upon information and belief, on or about April 11, 2023, Plaintiff’s

Equifax credit report contained the following account, which belongs to another

consumer:

             Account Name Automotive Credit Corp
             Account Number 5xxxxx


        Plaintiff’s Trans Union Credit File on or about April 11, 2023

      70.    Upon information and belief, on or about April 11, 2023, Plaintiff’s

Trans Union credit report contained the following account, which belongs to another

consumer:

             Account Name Automotive Credit Corp
             Account Number 5xxxxx


                Plaintiff’s April 24, 2023 Dispute with Experian


                                        17
        Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 18 of 28




         71.   On or about April 24, 2023, Plaintiff filed a written dispute with

Experian regarding inaccurate account and personal information that does not belong

to Plaintiff because Experian was reporting another consumer’s account and

personal information.

         72.   Plaintiff’s April 24, 2023 dispute specifically included Plaintiff’s full

name, date of birth, Social Security number, and current address, so that the credit

bureaus would be able to properly identify Plaintiff’s and locate Plaintiff’s credit

file.


    The Credit Bureaus’ Method for Considering Consumer Credit Report
                                 Disputes

         73.   The credit industry has constructed a method of numeric-alpha codes

for considering consumer credit report disputes. See 15 U.S.C. § 1681i(a)(5)(D).

         74.   Consumer reporting agencies Equifax, Experian, Trans Union, and

Innovis have thus created the Online Solution for Complete and Accurate Reporting,

or e-OSCAR, as the credit industries’ standard of performance. e-OSCAR allows

data furnishers to create and respond to disputes initiated by consumers by routing

credit reporting agency-created prompts for automated consumer dispute

verifications to the appropriate data furnishers. e-OSCAR utilizes a numeric-alpha

language specific to the credit reporting industry.

                                            18
    Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 19 of 28




      75.   That lexicon or unique language is commonly referred to in the credit

reporting industry as “Metro II.” It is also known industry wide as the CDIA’s

“Credit Reporting Resource Guide.”

      76.   Metro II is driven by numeric codes that translate into specific alpha

representations about consumers’ creditworthiness and character that will ultimately

appear on credit reports issued to third parties who make credit, insurance, rental,

and employment decisions regarding consumers.

      77.   Metro II codes are used on an industry wide form known within the

credit industry as an Automated Consumer Dispute Verification (“ACDV”)

electronic form.

      78.   The ACDVs have many fields in their body for use in effecting

thorough and complete communications between data furnishers and the credit

reporting agencies.

      79.   These ACDV “fields” have various titles for the many substantive areas

into which the Metro II codes can be entered.

      80.   Upon receiving a dispute from a consumer, the credit bureaus have an

automated system that prepares ACDVs that are sent to each of the data furnishers

that are reporting the credit accounts disputed by a consumer.




                                         19
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 20 of 28




      81.    The data furnishers then have an obligation under the FCRA to conduct

a reasonable reinvestigation with respect to the disputed credit account and review

all relevant information provided by the consumer with the dispute to determine

whether the disputed credit account information is accurate and/or belongs to the

disputing consumer. See 15 U.S.C. § 1681s-2(b).

      82.     Once the data furnisher completes its reinvestigation, it will code the

ACDV accordingly, representing either that the disputed account was verified as

accurate and belonging to the disputing consumer, updating information related to

the account, or deleting the account entirely, and return the ACDV to the respective

credit bureau(s) via eOSCAR.


            Experian’s Response to Plaintiff’s April 24, 2023 Dispute

      83.    Upon receiving Plaintiff’s written dispute in April 2023, Experian

removed the disputed account.

      84.    Sometime after the April 24, 2023 dispute, Experian completed its

reinvestigation of Plaintiff’s dispute and returned the results of its 15 U.S.C. § 1681i

dispute reinvestigation to Plaintiff. Experian failed to properly reinvestigate and

delete two Social Security numbers, which do not belong to Plaintiff, and continued

to appear on Plaintiff’s Experian credit report.



                                          20
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 21 of 28




       85.    Equifax, Experian, and Trans Union maintain/maintained multiple

credit files for Plaintiff.

       86.    At least one of Plaintiff’s Equifax, Experian, and Trans Union credit

files contain or have contained personal information and credit account information,

including derogatory collection accounts and charge offs, which do not belong or

pertain to her.

       87.    Equifax, Experian, and Trans Union’s merging and matching

algorithms have caused Plaintiff’s credit files to become mixed with personal and

credit account information belonging to a different consumer.

       88.    Within the two (2) years previous to the filing of this Complaint,

Equifax, Experian, and Trans Union prepared and distributed one or more consumer

reports, as that term is defined by 15 U.S.C. § 1681a(d), pertaining to Plaintiff that

contained misleading and inaccurate information which belongs to another

consumer, including without limitation, personal information and credit accounts,

which actually belong to a different consumer.

       89.    Equifax, Experian, and Trans Union failed to maintain and follow

reasonable procedures to assure the maximum possible accuracy of the personal and

credit account information contained within at least one of the credit files they

maintain for Plaintiff.

                                         21
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 22 of 28




      90.    Equifax, Experian, and Trans Union know that their matching

algorithms are flawed and frequently result in mixed information and credit files

belonging to two different consumers.

      91.    Equifax, Experian, and Trans Union have been sued thousands of times

by consumers and suffered judgments as a result of mixing consumer credit

information and credit files.

      92.    When Equifax, Experian, and Trans Union assemble consumer reports

for their subscribers, they allow such subscribers to use only a partial list of personal

identifiers to match data to the target consumer resulting in the inclusion of a broad

range of credit information; information which may in some cases, like the instant

matter, belong to another consumer.

      93.    Equifax, Experian, and Trans Union also fail to require an exact match

of all digits of a consumer’s Social Security number, which may in some cases result

in the inclusion of credit information which belongs to another consumer.

      94.    However, when consumers like Plaintiff request copies of their credit

files, Equifax, Experian, and Trans Union require a complete match of all personal

identifiers, resulting in a narrower match of data for the consumer.




                                           22
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 23 of 28




      95.    Consequently, Equifax, Experian, and Trans Union’s own procedures

for disclosing information to consumers, as they are required to do by the FCRA,

tend to mask or conceal the problem of mixed files.

      96.    By concealing this information, Equifax, Experian, and Trans Union

impair the ability of consumers, like Plaintiff, to identify and dispute errors resulting

from mixed credit information or credit files.

      97.    Equifax, Experian, and Trans Union have failed to follow reasonable

procedures to assure the maximum possible accuracy of Plaintiff’s credit files and

of Plaintiff’s consumer reports, in violation of 15 U.S.C. § 1681e(b).

      98.    Equifax, Experian, and Trans Union’s failure to follow reasonable

procedures to assure the maximum possible accuracy of Plaintiff’s credit files and

of Plaintiff’s consumer reports was negligent and/or willful.


                              CLAIMS FOR RELIEF

                                   COUNT I
                              15 U.S.C. § 1681e(b)
    Failure to Follow Reasonable Procedures to Assure Maximum Possible
                                   Accuracy
                  (First Claim for Relief Against Defendants)

      99.    Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-98 as if fully stated herein.



                                             23
    Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 24 of 28




      100. Defendants violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit reports and credit file they published and maintain

concerning Plaintiff.

      101. As a result of Defendants’ conduct, action, and inaction, Plaintiff

suffered damage by loss of credit; loss of the ability to purchase and benefit from

Plaintiff’s credit; detriment to Plaintiff’s credit rating; the expenditure of time and

money disputing and trying to correct the inaccurate credit reporting; and emotional

distress including the mental and emotional pain, anguish, humiliation, and

embarrassment of credit denials and having another consumers’ personal and credit

account information mixed in Plaintiff’s credit file.

      102. Defendants’ conduct, action, and inaction was willful, rendering them

each separately liable for actual or statutory damages, and punitive damages in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.

      103. Plaintiff is entitled to recover attorney’s fees and costs from Defendants

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or

§ 1681o.




                                          24
     Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 25 of 28




                                  COUNT II
                               15 U.S.C. § 1681i
               Failure to Perform a Reasonable Reinvestigation
         (Second Claim for Relief Against Defendants Equifax, Experian, and
                                    Trans Union)

       104. Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-98 as if fully stated herein.

       105. Defendants violated 15 U.S.C. § 1681i by failing to delete inaccurate

information in Plaintiff’s credit file after they received multiple notices of such

inaccuracies; by failing to conduct a lawful reinvestigation on numerous occasions

of both disputed credit accounts and hard inquiries; and by failing to maintain

reasonable procedures with which to filter and verify disputed information in

Plaintiff’s credit files.

       106. As a result of Defendants’ conduct, action, and inaction, Plaintiff

suffered damage by loss of credit; loss of the ability to purchase and benefit from

Plaintiff’s credit; detriment to Plaintiff’s credit rating; the expenditure of time and

money disputing and trying to correct the inaccurate credit reporting; and emotional

distress including the mental and emotional pain, anguish, humiliation, and

embarrassment of credit denials and having another consumers’ personal and credit

account information mixed in Plaintiff’s credit file.




                                             25
    Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 26 of 28




      107. Defendants’ conduct, action, and inaction was willful, rendering them

each separately liable for actual or statutory damages, and punitive damages in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.

      108. Plaintiff is entitled to recover attorney’s fees and costs from Defendants

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or

§ 1681o.

                                   COUNT III
                                15 U.S.C. § 1681g
                    Failure to Provide Disclosures to Plaintiff

      109. Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-98 as if fully stated herein.

      110. Defendants violated 15 U.S.C. § 1681g by failing to provide Plaintiff’s

credit disclosure after each request.

      111. As a result of Defendants’ conduct, action, and inaction, Plaintiff

suffered damage by loss of credit; loss of the ability to purchase and benefit from

Plaintiff’s credit; detriment to Plaintiff’s credit rating; the expenditure of time and

money disputing and trying to correct the inaccurate credit reporting; and emotional

distress including the mental and emotional pain, anguish, humiliation, and

embarrassment.

                                             26
    Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 27 of 28




      112. Defendants’ conduct, action, and inaction was willful, rendering them

each separately liable for actual or statutory damages, and punitive damages in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.

      113. Plaintiff is entitled to recover attorney's fees and costs from Defendants

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or

§ 1681o.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for relief as follows:

      a)     Determining that each Defendant negligently and/or willfully violated

             the FCRA;

      b)     Awarding Plaintiff actual damages, statutory, and punitive damages as

             provided by the FCRA;

      c)     Awarding Plaintiff reasonable attorney’s fees and costs from each

             Defendant as provided by the FCRA; and

      d)     Granting further relief, in law or equity, as this Court may deem

             appropriate and just.



                          DEMAND FOR JURY TRIAL

                                          27
    Case 1:24-cv-01368-VMC-CMS Document 2 Filed 03/29/24 Page 28 of 28




     114. Plaintiff demands a trial by jury.



Dated:     March 29, 2024
                                            /s/ Joseph P. McClelland
                                            Joseph P. McClelland
                                            LAW FIRM OF JOSEPH P.
                                            MCCLELLAND, LLC
                                            Georgia Bar No: 483407
                                            235 East Ponce de Leon Avenue,
                                            Suite 215
                                            Decatur, GA 30030
                                            Telephone: (770) 775-0938
                                            Fax: (470) 468-0070
                                            Email: joseph@jacksonlaws.com

                                            ATTORNEY FOR PLAINTIFF




                                       28
